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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

I, Christian Roccia, being first duly sworn, hereby depose and states as follows:

                               PURPOSE OF THE AFFIDAVIT

   1. This affidavit is submitted in support of a Criminal Complaint for SHANE WOODS a.k.a.

Shane Castleman (hereinafter “Woods”), charging violations of 18 U.S.C. §§ 1752(a)(1),(2), and

(4), 40 U.S.C. §§ 5104(e)(2)(D) and (F), 18 U.S.C. § 231(a)(3), 18 U.S.C. § 111(a)(1), and 18

U.S.C. § 113(a)(4).

                                BACKGROUND OF AFFIANT

   2. I am a Special Agent assigned to the Federal Bureau of Investigation (FBI). I am currently

assigned to FBI Washington Field Office (WFO). My principal duties include the investigation of

criminal allegations of bribery and corruption involving public officials, violations of campaign

finance law, mail and wire fraud, and government fraud. Currently, I am tasked with investigating

criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am

authorized by law or by a Government agency to engage in or supervise the prevention, detention,

investigation, or prosecution of a violation of Federal criminal laws.

   3. Unless otherwise stated, the information in this Affidavit is either personally known to me,

has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

              STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                      Background – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
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around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd



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encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      After the U.S. Capitol was breached, United States Capitol Police (USCP)

requested assistance from law enforcement agencies in the area to protect the Capitol, keep people

from entering the Capitol, and expel the crowd that was inside the Capitol. Multiple officers with

the Metropolitan Police Department and other law enforcement officers came to assist.

       10.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       11.     Additionally, news coverage of January 6, 2021, documented numerous attacks on

members of the news media who were present to cover the events at, around, and in the U.S.

Capitol building. These included reports of members of the news media being harassed,

threatened, robbed, and assaulted based on their perceived roles as journalists, and equipment

belonging to several news organizations was stolen, damaged, and/or destroyed.

                                 Facts Specific to This Complaint

       12.     While reviewing publicly available video footage from January 6, 2021, including

the footage referenced herein, investigators from the FBI identified an individual wearing a black


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North Face jacket, black pants, a black Under Armour backpack, black and white Nike shoes, and

a mostly black baseball cap with a stars and stripes brim and “TRUMP” written across the front,

in the restricted area of the United States Capitol on January 6, 2021, during the time of the events

described above, who engaged in acts of violence and destruction of property. In some of the

videos and photographs, the individual is wearing a mostly black surgical mask with “TRUMP

2021” written on it. This individual, who was identified as WOODS during the course of the

investigation, as set forth in detail below, was observed in some publicly available videos

assaulting a USCP officer and a member of the news media (MONM). Screen shots of the assailant,

later identified as WOODS, from some of those videos and images are included below, labeled as

Figures 1 through 4.

                                             Figure 1




                                                 4
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WOODS walking in DC on January 6, 2021 on Constitution Avenue as supporters left the
  Ellipse and headed to the Capitol Building after President Trump's speech.




                                     Figure 2


                                     5
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     WOODS on the steps of the United States Capitol Building on January 6, 2021

                                        Figure 3




     WOODS on the steps of the United States Capitol Building on January 6, 2021




                                        Figure 4

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                      WOODS on the grounds of the U.S. Capitol on January 6, 2021

Identification of Woods

       13.    Law enforcement identified a possible match to the abovementioned person as

SHANE CASTLEMAN. We continued investigation and learned that SHANE CASTLEMAN is

an alias utilized by SHANE WOODS.

       14.    I obtained and reviewed a copy of a driver’s license photograph of a SHANE

WOODS residing in Auburn, Illinois. I compared WOODS’s driver’s license photograph, as well

as his passport photograph, to the photographs and videos taken on the U.S. Capitol grounds on

January 6, 2021 described above. Based on my review, I concluded the individual in the driver’s

license and passport photographs identified as SHANE WOODS appears substantially similar to

the individual identified in Figures 1 through 4, who was present on the U.S. Capitol grounds on

January 6, 2021.

       15.    The FBI located the Facebook account of an individual who publicly identified

himself as “SHANE WOODS” on or about March 1, 2021. The account contained a profile picture



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and a photograph of WOODS which, based on a comparison of WOODS’s driver’s license and

passport photographs, were readily recognizable as WOODS.

                                         Figure 5




                     Shane WOODS - Facebook Profile Page (shane.WOODS.963)




                                                Figure 6




                                            8
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                                 Shane WOODS - Facebook Photographs

       16.     According to Facebook records, the account holder for the above Facebook account

provided the name “Shane WOODS,” and verification telephone numbers 217-303-XXXX and

217-697-XXXX.       According to phone records obtained through subpoena and open source

information, telephone number 217-303-XXXX is subscribed to Auburn Heating and Air, a

company owned and operated by WOODS, while 217-697-XXXX is subscribed to WOODS’s

spouse (or possibly former spouse). Both numbers are billed to WOODS’s residential address in

Auburn, Illinois.

       17.     The call detail records for telephone number 217-697-XXXX (the same phone

number as is associated with WOODS’s Facebook account) show calls were made from that

number to the following businesses in the Washington, D.C. area on January 6, 2021: Embassy




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Suites by Hilton, Crystal City National Airport, Arlington, Virginia; Renaissance Arlington

Capital View Hotel, Arlington, Virginia; and, King Cab Company, Alexandria, Virginia.

           18.   According to records obtained through a search warrant which was served on

Google, a mobile device associated with telephone numbers 217-303-XXXX and 217-697-XXXX,

the same telephone numbers associated with the WOODS’s Facebook account, was present on the

grounds of the U.S. Capitol on January 6, 2021, in and around the time of the events described

above. 1

           19.   A review of Auburn Heating and Air Conditioning LLC’s small business checking

account records, shows that WOODS was one of the two authorized signers on the account as of

March 26, 2021. I identified several charges made to this bank account in and around Washington,

D.C. between January 5, 2021, and January 7, 2021. On January 5, 2021, purchases were made at

Sheetz and Taco Bell, located a short distance from each other off Interstate 68 in Lavale,

Maryland. According to Google maps, Interstate 68 is along the most direct driving route between

Auburn, Illinois and Washington, D.C.

           20.   On January 6, 2021, a $12.00 charge was made against this account for the purchase

of a Washington Metropolitan Area Transit Authority (“Metro”) card, specifically at “ERM060.”

According to Metro’s records, ERM060 identifies the card was purchased inside the Eastern

Market Metro Station in Washington, D.C. According to Google maps, the Eastern Market metro

station is an approximately 15-minute walk from the United States Capitol building.

           21.   On January 7, 2021, purchases were made to this account at the Renaissance

Arlington Capital View Hotel and Love’s Travel Stop in Cumberland, Maryland. Cumberland,

Maryland is also off Interstate 68 in between Auburn, Illinois and Washington, DC.


1
 Google estimates device location using sources including GPS data and information about nearby Wi-Fi access
points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s) of the data.

                                                      10
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       22.    Records obtained from Marriott International showed an individual named Shane

WOODS, address “999 9 Rama Road The, Bangkok, CA” checked into the Renaissance Hotel in

Arlington, Virginia on January 5, 2021, and checked out on January 7, 2021. According to records

obtained from Priceline, WOODS made this reservation for two nights through priceline.com,

where he provided his correct address in Auburn, Illinois, telephone number, and email address.

       23.    Based on a review of the information provided by Facebook in response to a search

warrant issued by a United States Magistrate Judge for the District of Columbia, I believe

WOODS and an associate drove from Auburn, Illinois, to the Washington, D.C. area on January

5, 2021. According to Google maps, the most direct route would have taken WOODS through

Indiana, Ohio, Pennsylvania, and Maryland. On January 5, 2021, WOODS sent the below

photograph to numerous contacts through Facebook’s messaging service:




                                           Figure 7




                                               11
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                   Photograph of Ohio sign sent by WOODS through Facebook

       24.    On January 5, 2021, WOODS sent the following message to an associate identified

as Facebook user 5229: “Headed to dc.” WOODS then said the first name of the individual with

whom WOODS was travelling. This is the same first name of the second individual listed on the

priceline.com reservation previously described.

       25.    WOODS also sent the below photograph to numerous contacts through Facebook’s

messaging service on January 6, 2021:




                                           Figure 8




                                                  12
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                     Photograph of Capitol sent by WOODS through Facebook

       26.     Some of the individuals to whom WOODS sent the photograph engaged WOODS

in conversation via this messaging service after receiving the photograph. For example, on January

6, 2021, an associate with the initials “RB” sent the following to WOODS through Facebook: “So

you out in front of the White House Ha.” WOODS replied, “Capital (sic) building.” RB wrote,

“Yeah I’m sorry I meant State Capitol…When did you guys get there[?]” WOODS replied, “Last

night.” On January 7, 2021, WOODS informed RB, “Driving home. Long drive.”

       27.     Also on January 6, 2021, soon after WOODS sent the above picture to an associate

with the initials “HHW,” HHW asked WOODS via Facebook, “R u there now?” After WOODS

replied, “Yes,” HHW wrote, “Hope u get some good pictures. Please don’t get arrested…”

        28.    On January 6, 2021, after WOODS sent the above photograph of the Capitol to

Facebook user 5229 through Facebook, 5229 replied, “Nice. The swarm will be coming in an

hour or two…Glad you guys made it safe…Grab an Antifa by their hair and send them rollin will

ya?”




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       29.    WOODS and Facebook user 5229 had discussions about the election and the events

in Washington, D.C. using Facebook messages before January 6, 2021.           For example, on

December 1, 2020, WOODS sent the following message to Facebook user 5229 about the 2020

election: “Trump wouldn’t be golfing if he was worried.” Facebook user 5229 replied, “True. I

hope he has an ace in his pocket I want to see all those asshats go to jail too.” To this, WOODS

replied, “Hung.” Facebook user 5229 added, “Ir (sic) fire squad. Should be hung by (sic) treason

though.”

       30.    On January 19, 2021, an associate with the initials “TL” asked WOODS via

Facebook, “Has the FBI come after you yet[?]”

                                      Witness Interviews

       31.    In June 2021, the FBI interviewed two unrelated individuals, Witness-1 and

Witness-2.   Both Witness-1 and Witness-2 reviewed photographs taken of WOODS in

Washington, DC on January 6, 2021, shown below as #238 AFO A through D, and identified

WOODS as the individual who is the subject of this Affidavit.

       32.    In March 2021, Witness-1 called the FBI’s National Threat Operations Center

(NTOC) after reviewing photographs posted on www.fbi.gov of individuals about whom the FBI

was seeking information. Witness-1, who knew WOODS in the early 2000s through a college

WOODS attended, at which Witness-1 was in a teaching position, identified the individual

depicted in photographs labeled #238 AFO A through D (below) as SHANE WOODS.




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             Photographs #238-AFO A through D (left to right) posted on www.fbi.gov

       33.      In June 2021, the FBI interviewed Witness-1 who stated while looking through the

photographs on www.fbi.gov, WOODS's light eyes jumped out at him/her and he/she immediately

recognized #238 as Woods.

       34.      Witness-2 was a customer of Auburn Heating and Air Conditioning who had

several in-person interactions with WOODS, the most recent of which was in February 2021.

Witness-2 positively identified the individual depicted in #238-AFO D as WOODS. Witness-2

has communicated with WOODS on both 217-303-XXXX and 217-697-XXXX.

                               Assault by Woods on USCP Officer

       35.      At or about approximately 2:10 p.m. EST on January 6, 2021, several USCP police

officers attempted to keep a large crowd of protesters, who were congregated on the lower west

terrace in the northwest corner of the U.S. Capitol building, from approaching the U.S. Capitol. I

have reviewed publicly available video footage of the activity on the lower west front terrace,

hereinafter referred to as YouTube Video #1. In my review of YouTube Video #1, I identified one

of the USCP officers who was involved in an altercation in that area of the U.S. Capitol Grounds

at that approximate time, who is further identified below as USCP Officer A, and who provided

the following information.

       36.      Based on my review of YouTube Video #1, as corroborated by information

provided by USCP Officer A, at approximately 2:10 p.m. EST on January 6, 2021, several officers

formed a perimeter around officers attempting to arrest a struggling protester, when someone

sprayed the officers with bear mace.

                                            Figure 9




                                               15
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    Screenshots from YouTube Video #1, Capitol Police Officers on the lower west terrace of the
                           Capitol building (copyright redacted)

                                              Figure 10




               Screenshots from YouTube Video #1, Officers forming a perimeter around other
               officers attempting to arrest a protester. A brown spray can be seen moments
               later from the left (copyright redacted)

       37.     USCP Officer A stated much of her visor was covered with mace when she ran

towards the protester who sprayed the mace. YouTube Video #1 shows USCP Officer A, who

confirmed that she is the officer in the video, run in the direction from where the brown spray was

sprayed. An individual who appears to be WOODS, based on the photographs above and my


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comparison to his driver’s license photograph and passport photograph, as further described above,

can be seen in the same video running towards USCP Officer A. WOODS can then be seen tripping

USCP Officer A and pushing her to the ground as USCP Officer A is pursuing the individual who

sprayed the mace. As shown in YouTube Video #1, USCP Officer A falls to the ground, loses her

helmet, and is surrounded by protesters until she is assisted by another USCP officer. Screenshots

from YouTube Video #1, showing USCP Officer A and the assault by WOODS, are included

below as Figures 11.1 through 11.4, with the relevant individual circled in red.



                                           Figure 11.1




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                           Figure 11.2




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                           Figure 11.3




                           Figure 11.4




                               19
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                         WOODS assaulting USCP Officer A (copyright redacted)



                  Assault by Woods on Member of the News Media (MONM)

       38.     At approximately 4:50 p.m., on January 6, 2021, a large crowd made its way to

and/or past a media staging area that was set up outside the northeast corner of the U.S. Capitol,

on U.S. Capitol grounds. As individuals moved past metal barricades that had been set up around

the staging area, media members were forced to flee the area before recovering all their cameras

and associated equipment. Numerous members of the crowd began to destroy the equipment,

including cameras, tripods, lights, shades, and remote broadcasting equipment that belonged to

various media outlets. Numerous members of the crowd yelled inflammatory rhetoric against the

members of the media. One member of the media who was forced to flee the scene estimated that

the equipment from his particular news organization that was destroyed was valued at between

$30,000 and $34,000. The image in Figure A depicts the staging area after the members of the

news media had been forced to flee.




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                                             Figure A




       39.     As captured in several publicly posted videos and images, on January 6, 2021, at

approximately 5:00 p.m., numerous protesters, including WOODS, gathered in the vicinity of the

media staging area at the northeast side of the U.S. Capitol. Several protesters destroyed pieces of

equipment which belonged to media outlets, causing members of the media to vacate the staging

area and abandon their equipment, and/or rendering the equipment inoperable.



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       40.    In YouTube Video #2, a publicly available video I reviewed during the course of

this investigation, an individual who appears to be WOODS, based on the driver’s license

photographs, passport photographs, and Facebook photographs, as further described above, can be

clearly observed standing with protesters who are yelling and spitting at members of the news

media along a pushed-over fence next to the media staging area in the northeast area of the U.S.

Capitol. Moments later, the individual who appears to be WOODS climbed over the toppled fence

and participated in the assault on the media equipment. Screenshots from YouTube Video #2A

and Twitter Video #2B showing WOODS, circled in red, are below in Figure 12.1 and 12.2.

                                          Figure 12.1




                                          Figure 12.2




                                              22
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       41.     In several other publicly available videos, the individual who appears to be

WOODS can be seen walking around the piled media equipment, as well as picking up and tossing

some of it. In YouTube Video #3, a publicly available video I reviewed during the course of this

investigation, an individual who matches the descriptions above and who appears to be WOODS,

can also be observed walking closely around a cameraman dressed in blue jeans and a blue jacket.

Soon after, WOODS is observed running into and tackling this same cameraman as the cameraman

is facing away from WOODS. The manner of attack on the cameraman was very similar to the

attack on USCP Officer A identified above, by the same individual. In the video, WOODS is seen

departing quickly after tackling the cameraman, causing the man to fall to the ground and drop his

camera. Screenshots from YouTube Video #3 are included below, with WOODS and the

cameraman circled in red, as Figure 13.1 through 13.5.

                                          Figure 13.1




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                           Figure 13.2




                           Figure 13.3




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                           Figure 13.4




   g

                           Figure 13.5


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                                         Probable Cause

       42.     Based on the foregoing, your affiant submits that there is probable cause to believe

that SHANE WOODS violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1)

knowingly enter or remain in any restricted building or grounds without lawful authority to do so;

and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct in, or within such

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions; and (4) knowingly

engages in any act of physical violence against any person or property in any restricted building

or grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted

building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds

where the President or other person protected by the Secret Service, including the Vice President,

is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an

event designated as a special event of national significance.

       43.     Your affiant submits there is also probable cause to believe that SHANE WOODS

violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly: (D) utter loud,


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threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the

Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of Congress, or the orderly conduct in that

building of a hearing before, or any deliberations of, a committee of Congress or either House of

Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol

Buildings.

       44.     Your affiant submits there is also probable cause to believe that SHANE WOODS

violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act

to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in

the lawful performance of his official duties incident to and during the commission of a civil

disorder which in any way or degree obstructs, delays, or adversely affects commerce or the

movement of any article or commodity in commerce or the conduct or performance of any

federally protected function. For purposes of Section 231 of Title 18, a federally protected function

means any function, operation, or action carried out, under the laws of the United States, by any

department, agency, or instrumentality of the United States or by an officer or employee thereof.

This includes the Joint Session of Congress where the Senate and House count Electoral College

votes. A civil disorder means a public disturbance involving acts of violence by assemblages of

three or more persons, which causes an immediate danger of or results in damage or injury to the

property or person of another individual.

       45.     Your affiant submits that there is also probable cause to believe that SHANE

WOODS violated 18 U.S.C. § 111(a)(1), which makes it a crime for anyone to forcibly assault,

resist, oppose, impede, intimidate, or interfere with any United States law enforcement officer




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while that officer is engaged in the performance of their official duties, or any person assisting

such an officer or employee in the performance of such duties or on account of that assistance.

        46.     Your affiant submits there is also probable cause to believe that SHANE WOODS

violated 18 U.S.C. § 113(a)(4), which makes it unlawful, within the special maritime and territorial

jurisdiction of the United States, to commit an assault by striking, beating, or wounding. The

U.S. Capitol and the U.S. Capitol grounds are federal property within the special maritime or

territorial jurisdiction of the United States.



                                                 _______________________________________
                                                 SPECIAL AGENT CHRISTIAN ROCCIA
                                                 FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of June 2021.

                                                 ___________________________________
                                                 ROBIN M. MERIWEATHER
                                                 U.S. MAGISTRATE JUDGE




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